Case 3:12-cv-07758-ZNQ-JBD            Document 496    Filed 03/28/25     Page 1 of 35 PageID:
                                            31032



 NOT FOR PUBLICATION


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA, et al., ex
 rel. JESSICA PENELOW and CHRISTINE
 BRANCACCIO,

                                                      Civil Action No. 12-7758 (ZNQ) (JBD)
                        Plaintiffs,
                                                                    OPINION
                        v.

 JANSSEN PRODUCTS, LP,

                        Defendant.


 QURAISHI, District Judge

        THIS MATTER comes before the Court upon Defendant Janssen Products, LP’s

 (“Janssen”) Motion for Judgment as a Matter of Law (“Rule 50 Motion”, ECF No. 473), Janssen’s

 Motion for a New Trial (“Rule 59 Motion”, ECF No. 474), and Relators Jessica Penelow and

 Christine Brancaccio’s (collectively, the “Relators”) Motion for Entry of Judgment (“Judgment

 Motion”, ECF No. 475). Relators opposed Janssen’s Rule 50 and Rule 59 Motions (“Rule 50

 Opp’n Br.” and “Rule 59 Opp’n Br.”, ECF Nos. 481, 480), and Janssen replied (“Rule 50 Reply

 Br.” and “Rule 59 Reply Br.”, ECF Nos. 485, 486). Janssen opposed Relators’ Motion for Entry

 of Judgment (“Judgment Opp. Br.”, ECF No. 479), and Relators replied (“Judgment Reply Br.”,

 ECF No. 488.) The Court has carefully considered the parties’ submissions and decides the

 motions without oral argument pursuant to Federal Rule of Civil Procedure 78 and Local Civil

 Rule 78.1. For the reasons set forth below, the Court: (1) grants in part, and denies in part,




                                               1
Case 3:12-cv-07758-ZNQ-JBD                 Document 496            Filed 03/28/25         Page 2 of 35 PageID:
                                                 31033



 Janssen’s Motion for Judgment as a Matter of Law; (2) denies Janssen’s Motion for a New Trial;

 and (3) grants in part, and denies in part, Relators’ Motion for Entry of Judgment.

 I.      BACKGROUND 1

         Relators filed the instant action on behalf of the Government, twenty-six states and the

 District of Columbia, alleging fifty-six counts under the federal False Claims Act (“FCA”), the

 federal Anti-Kickback Statute, and the false claims act of various states (“state FCAs”). (See

 Second Am. Compl., ECF No. 90.) The claims arise from Janssen’s purported kickback scheme

 and off-label (“OL”) promotions of two HIV/AIDS drugs: Prezista and Intelence. (Id. ¶¶ 1–16.)

         On May 6, 2024, a jury trial commenced on Relators’ claims against Janssen. The jury

 received stipulated facts, substantial documentary evidence, and testimony from 12 fact witnesses

 and 5 expert witnesses. After a six-week trial, on June 13, 2024, the jury found Janssen liable for

 unlawfully promoting Prezista or Intelence under the federal FCA, as well as under each of the

 state FCAs. (Verdict Form, ECF No. 434.) The jury determined that Janssen submitted 159,574

 claims in violation of the FCA and awarded $120,004,736 to the United States as a result of these

 violations. (Id. at 2.) Separately, the jury determined that Janssen submitted false claims in

 violation of the state FCAs, and awarded a lumpsum of $30,001,184 to the States, collectively, as

 a result of these violations. (Id. at 4–5.) Following the jury’s verdict in favor of Relators on the

 federal FCA and state FCA claims, Janssen filed the instant renewed Motion for Judgment as a

 Matter of Law pursuant to Rule 50(b) and Motion for a New Trial pursuant to Rule 59. (ECF Nos.

 473, 474). Relators, in turn, filed a Motion for Entry of Judgment. (ECF No. 475.)

         The Court addresses Janssen’s Rule 50 and Rule 59 Motions first, followed by Relators’

 Motion for Entry of Judgment.


 1
   As the parties are familiar with the factual and procedural background of this matter, the Court omits most of the
 lengthy history of this over twelve-year-old case.


                                                          2
Case 3:12-cv-07758-ZNQ-JBD             Document 496        Filed 03/28/25       Page 3 of 35 PageID:
                                             31034



 II.    LEGAL STANDARD

        A.      Motion For Judgment as a Matter of Law

        Judgment as a matter of law is appropriate where there is no “legally sufficient evidentiary

 basis” for a reasonable jury to find in favor of the prevailing party. Fed. R. Civ. P. 50(a); see also

 Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1166 (3d Cir. 1993) (“Such a motion should be

 granted only if, viewing the evidence in the light most favorable to the nonmovant and giving it

 the advantage of every fair and reasonable inference, there is insufficient evidence from which a

 jury reasonably could find liability.”). In considering the evidence, “the court may not weigh the

 evidence, determine the credibility of witnesses, or substitute its version of the facts for the jury’s

 version.” Lightning Lube, Inc., 4 F.3d at 1166. “Although judgment as a matter of law should be

 granted sparingly, a scintilla of evidence is not enough to sustain a verdict of liability.” Id. To

 that end, the proper inquiry on a motion for judgment as a matter of law is “whether there is

 evidence upon which the jury could properly find a verdict for [the prevailing] party.” Id. (quoting

 Patzig v. O’Neil, 577 F.2d 841, 846 (3d Cir. 1978)). In other words, judgment as a matter of law

 should be granted if the record is “critically deficient of that minimum quantity of evidence from

 which a jury might reasonably afford relief.” In re Lemington Home for the Aged, 777 F.3d 620,

 626 (3d Cir. 2015) (quoting Trabal v. Wells Fargo Armored Serv. Corp., 269 F.3d 243, 249 (3d

 Cir. 2001)). Finally, “[t]he burden on a defendant who raises a challenge to the sufficiency of the

 evidence is extremely high[.]” State Farm Mut. Auto. Ins. Co. v. Lincow, 444 F. App’x 617, 621

 (3d Cir. 2011) (quoting United States v. Riley, 621 F.3d 312, 329 (3d Cir. 2010)).

        B.      Motion For a New Trial

        Rule 59(a) provides that a court may award a new trial “after a jury trial, for any reason for

 which a new trial has heretofore been granted in an action at law in federal court[.]” Fed. R. Civ.




                                                   3
Case 3:12-cv-07758-ZNQ-JBD            Document 496        Filed 03/28/25      Page 4 of 35 PageID:
                                            31035



 P. 59(a). The purpose of a motion under Rule 59 is “to correct manifest errors of law or fact or to

 present newly discovered evidence.” Lazaridis v. Wehmer, 591 F.3d 666, 669 (3d Cir. 2010)

 (quoting Max’s Seafood Café v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999)). Courts have the

 discretion to grant a new trial on several grounds, including: “(1) that the verdict is against the

 weight of the evidence; (2) that the damages are excessive; or (3) that the district court made

 substantial errors in the admission or rejection of evidence or in its instructions to the jury.”

 Winnicki v. Bennigan’s, Civ. No. 01-3357, 2006 WL 2506738, at *1 (D.N.J. Aug. 28, 2006) (citing

 Montgomery Ward & Co. v. Duncan, 311 U.S. 243, (1940)). Thus, “the decision whether or not

 to grant a new trial is committed to the sound discretion of the district court.” Id. (citing Wagner

 v. Fair Acres Geriatric Ctr., 49 F.3d 1002, 1017 (3d Cir. 1995)).

        “[A] new trial should be granted only when the verdict is contrary to the weight of the

 evidence or when a miscarriage of justice would result if the verdict were to stand.” Brennan v.

 Norton, 350 F.3d 399, 430 (3d Cir. 2003). A district court may not “grant a new trial because it

 would have come to a different conclusion than that reached by the jury.” Lyles v. Flagship Resort

 Dev. Corp., 371 F. Supp. 2d 597, 602 (D.N.J. 2005). Therefore, “[i]n determining whether the

 evidence is sufficient to sustain liability, the court may not weigh the evidence, determine the

 credibility of witnesses, or substitute its version of the facts for the jury’s version.” Lightning

 Lube, Inc., 4 F.3d at 1166. “The motion may be granted if ‘the record is critically deficient of that

 minimum quantity of evidence from which a jury might reasonably afford relief.’” Lyles, 371 F.

 Supp. 2d at 602 (quoting Boehringer Ingelheim Vetmedica, Inc. v. Schering-Plough Corp., 166 F.

 Supp. 2d 19, 28 (D.N.J. 2001)).




                                                  4
Case 3:12-cv-07758-ZNQ-JBD            Document 496        Filed 03/28/25      Page 5 of 35 PageID:
                                            31036



 III.    DISCUSSION

         A.     Janssen’s Motion for Judgment as a Matter of Law

         Prior to closing arguments, the Court held a conference with counsel to discuss the jury

 charge and jury verdict form. (See 6/11/24 Tr. at 7898:17–7916:17, ECF No. 454.) The parties

 raised a number of disputes regarding the jury instructions and verdict form. (Id.) With respect to

 Relators’ state law claims, Relators asked the Court to instruct the jury that they “must also find”

 Janssen liable under every state FCA should the jury find Janssen liable under the federal FCA.

 (Id. at 7898:17–7916:17; see Proposed Jury Instructions 68, Disputed Instruction No. 25, ECF No.

 424-1.) Janssen objected and asserted Relators had failed to provide a legal or factual basis for the

 state law claims. (Id.) While the Court ultimately accepted Relators’ jury instruction on this

 charge over Janssen’s objections, the Court expressed concerns regarding how Relators had

 presented the state law claims at trial. (6/11/24 Tr. at 7906:7–12.) Accordingly, the Court

 permitted Janssen to file a motion for judgment as a matter of law pursuant to Rule 50(b) post-trial

 should the jury find Janssen liable on the state law claims, and reserved on deciding the motion.

 (Id.)

         Following the jury’s finding in favor of Relators on the federal FCA and state FCA claims,

 Janssen moved for judgment as a matter of law pursuant to Rule 50(b). (ECF No. 473.) Janssen

 makes four primary arguments: (1) Relators failed to introduce evidence on which a reasonable

 jury could find that Janssen caused the submission of false claims, Janssen’s OL marketing was

 material to the Government’s payment decisions, and the at-issue claims were false under the False

 Claims Act; (2) Relators failed to prove that Janssen violated any of the state False Claims Acts;

 (3) the jury’s verdict on the number of claims and amount of damages are arbitrary and based on

 unsupported evidence, and cannot otherwise be sustained because of critical errors; and (4) the




                                                  5
Case 3:12-cv-07758-ZNQ-JBD            Document 496        Filed 03/28/25      Page 6 of 35 PageID:
                                            31037



 jury’s verdict must be set aside because Relators’ claims are barred under the government action

 and public disclosure bars of the FCA and by the Constitution. (Rule 50 Moving Br. 1–3, ECF

 No. 473-1.) The Court addresses each of these arguments in turn.

                  1.    Jury’s Finding of Liability Under the Federal False Claims Act

        Janssen first contends that despite the jury’s verdict finding that Janssen violated the FCA,

 this Court should enter judgment in its favor because Relators failed to prove the required elements

 of causation, materiality, and falsity under the FCA. (See Rule 50 Moving Br. 1–2, 7–37.) In

 support of its argument, Janssen asserts: (1) Relators “introduced no evidence on which a

 reasonable jury could find that Janssen caused the submission of false claims”; (2) Relators

 “introduced no evidence on which a reasonable jury could find that Janssen’s alleged off-label

 marketing was material to the [G]overnment’s payment decisions”; and (3) Relators “introduced

 no evidence on which a reasonable jury could find the at-issue claims were false.” (Id. at 1–2.) In

 response, Relators contend that they introduced sufficient evidence to support the jury’s findings

 on causation, materiality, and falsity. (Rule 50 Opp’n Br. 2–3, ECF No. 481.) After reviewing

 the evidence presented at trial, the Court finds there was a sufficient evidentiary basis for a

 reasonable jury to find Janssen liable under the FCA for the submission of false claims. Fed. R.

 Civ. P. 50(a).

        With respect to causation, Relators were required to prove that Janssen’s conduct was a

 “substantial factor” in inducing providers to submit claims for reimbursement from Medicare,

 Medicaid, or the federal AIDS Drug Assistance Program (“ADAP”), and that it was “reasonably

 foreseeable or anticipated as a natural consequence” that the submission of claims would result

 from Janssen’s conduct. (See Final Jury Instructions 32, ECF No. 424-11); United States ex rel.

 Penelow v. Janssen Prods., LP, Civ. No. 12-7758, 2021 WL 6052425, at *9–10 (D.N.J. Dec. 21,

 2021) (explaining “substantial factor” standard); see also United States ex rel. Schmidt v. Zimmer,


                                                  6
Case 3:12-cv-07758-ZNQ-JBD                  Document 496            Filed 03/28/25         Page 7 of 35 PageID:
                                                  31038



 386 F.3d 235, 244 (3d Cir. 2004) (explaining “this Court applie[s] ordinary causation principles

 from negligence law in determining responsibility under the FCA” and, therefore, defendant’s

 conduct must be “a substantial factor in bringing about” the filing of a false claim). 2

          At trial, Relators presented substantial evidence that Janssen trained and instructed its sales

 force to promote Prezista and Intelence OL, and that its sales force observed an increase in

 physicians’ prescriptions after they delivered OL messages to physicians. (RXL78 at 2; 5/15/2024

 Tr. at 1708:8–1709:13, 1726:20–1727:6, ECF No. 464; 5/22/2024 Tr. at 3255:15–3256:23, ECF

 No. 449; 5/23/2024 Tr. at 3508:4–16, ECF No. 457; 5/30/2024 Tr. at 4726:11–4727:23, ECF No.

 467; 5/9/2024 Tr. at 748:25–749:13, ECF No. 463.) Relators also introduced marketing reports

 by a third-party marketing research firm that found that Janssen’s sales force had the highest

 effectiveness of any sales force in causing “lift”—an increase in prescriptions through their

 promotion. (6/3/2024 Tr. at 5410:6–11, 5443:11–5444:6, 5447:2–6, 5448:10–5449:18, 5470:1–

 5477:9, 5480:25–5485:23, ECF No. 451.) In addition, Relators elicited expert testimony on

 causation in which witnesses opined on how Janssen encouraged OL marketing, thereby causing

 physicians to prescribe Prezista and Intelence OL. For example, pharmaceutical marketing expert

 George Sillup testified that Janssen’s “off-label marketing caused physicians to prescribe Prezista

 and Intelence off-label,” that Janssen’s specific OL messaging “caused physicians to prescribe

 off-label for those specific reasons,” and that Janssen’s OL messaging directed at physicians “had



 2
   Janssen argues that as part of the “substantial factor” test, Relators were required to prove that Janssen’s conduct
 was the “but-for cause of the submission of any false claim.” (Rule 50 Reply Br. 1, ECF No. 485.) Janssen, however,
 does not contest that the Court properly instructed the jury on the legal standard for causation, in which the Court
 instructed the jury to assess whether Janssen’s conduct was a “substantial factor” in causing the submission of false
 claims to Medicare, Medicaid, and/or ADAP, and it was “reasonably foreseeable or anticipated as a natural
 consequence” that false claims would result from such conduct. (See Rule 50 Moving Br.; Rule 59 Moving Br.) As
 Janssen concedes that courts in the Third Circuit apply the “substantial factor” standard to assess causation in cases
 brought under the FCA, (Rule 50 Moving Br. 8), and that the jury instruction on causation was correct, the Court
 applies the “substantial factor” test in assessing whether Relators provided sufficient evidence of causation. Zimmer,
 386 F.3d at 235.


                                                           7
Case 3:12-cv-07758-ZNQ-JBD            Document 496        Filed 03/28/25      Page 8 of 35 PageID:
                                            31039



 a lasting impact on physicians’ prescribing behavior.” (5/22/2024 Tr. at 3046:24–3047:9.) Data

 expert Ian Dew further identified hundreds of thousands of “prescription drug event” data

 demonstrating physicians influenced by Janssen’s OL marketing submitted claims for Prezista and

 Intelence to the Centers for Medicare & Medicaid Services (“CMS”) and the Government for

 reimbursement. (See 5/31/24 Tr. 5222:2–5228:18, 5262:15–25, ECF No. 450; RX1480; DX5005;

 RX487; DX5009; RX1003.) Relators further introduced testimony from damages expert Israel

 Shaked, who performed statistical analyses and concluded that thousands of doctors who received

 Janssen’s OL marketing prescribed the drugs OL at much higher rates than doctors who were not

 contacted by Janssen. (See 5/31/24 Tr. at 5409:3–5411:05, 5545:14–5552:11.)

        Janssen contends that despite this substantial evidence, the record is insufficient to

 demonstrate causation because Relators did not present any “doctor-[specific] or patient-specific

 evidence to demonstrate the alleged off-label marketing effect on prescribing in any individual

 doctor’s office.” (Rule 50 Moving Br. 13, ECF No. 473-1.) Janssen raised this same argument

 at summary judgment and the Court squarely rejected Janssen’s contention. Janssen Prods., LP,

 2021 WL 6052425, at *9 (rejecting Janssen’s argument that causation must be proven through

 patient-specific evidence and holding that Relators could prove causation by presenting

 “sufficiently detailed circumstantial evidence” that false claims were presented as a result of

 Janssen’s conduct); see also United States ex rel. Brown v. Celgene Corp., 226 F. Supp. 3d 1032,

 1037 (C.D. Cal. 2016) (holding that relator was not “required to identify a particular false claim”

 to prove causation under the FCA).

        Here, examining the record before it, the Court finds that Relators produced sufficient

 evidence from which the jury could reasonably adduce that Janssen’s OL marketing was a

 substantial factor in causing physicians to submit claims for reimbursement to Government payors,




                                                  8
Case 3:12-cv-07758-ZNQ-JBD                   Document 496            Filed 03/28/25          Page 9 of 35 PageID:
                                                   31040



 and that it was reasonably foreseeable that false claims would result from such conduct. Relators

 proffered detailed documentary evidence, as well as expert and fact testimony, that demonstrated

 claims for Prezista or Intelence were submitted to the Government as a result of Janssen’s OL

 marketing.      Janssen raised challenges regarding the sufficiency, reliability and accuracy of

 Relators’ proffered evidence at trial. (See, e.g., 6/11/24 Tr. at 8091:3–8092:18). The jury

 evaluated both parties’ arguments and concluded that Relators had sufficiently proven causation. 3

 A reasonable jury could therefore have found that Janssen’s OL marketing caused the submission

 of claims to the Government, and judgment as a matter of law is inappropriate on this issue. See

 In re Lemington Home for the Aged, 777 F.3d at 626 (explaining that the Court must give the

 non-moving party “the benefits of all reasonable inferences” when assessing a Rule 50(b) motion,

 “even though contrary inferences may be drawn” from the evidence).

          Turning next to materiality, Relators were required prove that Janssen’s OL marketing

 violations were material to the Government’s payment decision. In other words, Relators were

 required to prove that Janssen’s unlawful promotion “had a natural tendency to influence, or was

 capable of influencing, the payment or receipt of money or property.” (Final Jury Instructions 34,

 Instruction No. 19.4.) The Court need only summarize some of the evidence Relators presented

 at trial on this issue. Relators introduced multiple Corporate Integrity Agreements (“CIA”) and




 3
   Janssen also argues that “Relators’ theory of causation . . . is too remote from its causal agent . . . to satisfy the
 proximate cause requirement.” (See Rule 50 Moving Br. 15–17.) The Court finds this argument unpersuasive. Fraud
 directed at physicians may establish FCA liability if reimbursement by the Government was a reasonably foreseeable
 result of the fraud. See Marcus v. Hess, 317 U.S. 537, 544 (1943) (concluding the FCA applies to fraudulent conduct
 that causes a third party to submit claims to the United States for amounts higher than would have been submitted);
 United States v. Lagerbusch, 361 F.2d 449, 449 (3d Cir. 1966) (holding that an employee was liable under the FCA
 for making false representations to obtain money from his employer, a government contractor reimbursed by the
 United States, and stating “[w]e have no doubt that the False Claims Act covers such an indirect mulcting of the
 [G]overnment.”). The Court further notes that the jury was instructed on the requirement to find proximate cause, and
 Janssen does not contend this jury instruction was erroneous. (See Final Jury Instructions 32, Instruction No. 19.2
 (explaining causation requires that the jury find that the submission of claims was “reasonably foreseeable or
 anticipated as a natural consequence” of Janssen’s conduct); see generally Rule 50 Moving Br.)


                                                            9
Case 3:12-cv-07758-ZNQ-JBD          Document 496        Filed 03/28/25      Page 10 of 35 PageID:
                                          31041



 Settlement Agreements that Janssen entered during the relevant period in order to resolve

 Government allegations concerning Janssen’s OL marketing of prescription drugs, which Relators

 argued to the jury were evidence of materiality. (See RX423; RX361; RX1624; Rule 50 Opp’n

 Br. 20, ECF No. 481.) Relators elicited testimony from Janssen’s president Glen Mattes who

 testified that OL marketing was illegal and material to the Government’s payment decisions,

 including that if the Government “discovered that there was off-label marketing . . . and Medicare

 and Medicaid has [sic] reimbursed for those drugs . . . [the Government] will demand that money

 back.” (5/22/24 Tr. at 2923:01–09; see also id. at 2930:08–12 (agreeing that “if there are products

 that are being sold for reimbursement by Medicare and Medicaid and it turns out that those were

 sold in violation of the law, the Government is going to come back and get its money”).) Relators

 also introduced expert testimony from compliance expert Virginia Evans who testified that

 Government payors do not cover the cost of prescription products when they were provided in

 violation of the FCA, including for OL uses, and that if the Government pays for false claims under

 Medicare and Medicaid without knowledge of the fraudulent conduct, they will “attempt to recoup

 that money” after discovering such falsity. (5/28/24 Tr. at 3762:5–3763:22; 3796:01–23, ECF No.

 458.) Relators introduced similar expert witness testimony from Sara Strand, who testified that

 Government payors would not pay for claims that were the result of OL marketing, and that if such

 a claim had been paid, the Government would require the manufacturer to reimburse the

 Government. (5/9/24 Tr. at 905:6–12.)

        Janssen contends that Relators failed to prove materiality because: (1) “the federal

 [G]overnment has had full knowledge of Relators’ allegations for over a decade, yet CMS is still

 paying for Prezista and Intelence;” (2) the Government had “actual knowledge of Relators’

 allegations;” and (3) Relators’ proof of materiality consisted entirely of evidence that the




                                                 10
Case 3:12-cv-07758-ZNQ-JBD            Document 496        Filed 03/28/25      Page 11 of 35 PageID:
                                            31042



 Government, and not necessarily CMS, generally cares about OL marketing, which fails to

 establish that the OL marketing would have altered CMS’s payment decisions. (See Rule 50

 Moving Br. 17–23.) Janssen appropriately raised these arguments during trial, including that

 “Medicare Part D pays for off-label” uses and medications, (6/11/24 Tr. at 8103:3–4), and that

 “CMS continues to reimburse” Prezista and Intelence despite awareness of Relators’ allegations”

 (id. at 8063:2–6; see also id. at 8104:5–7 (arguing to the jury that “almost 200,000 prescriptions

 off-label were written for and paid for by prescribers who had nothing to do with [Janssen]”); id.

 at 5061:3–6 (arguing to the jury that “there isn’t a shred of evidence in this case about what the

 Plan D sponsors evaluated when determining and certifying that a claim is reimbursable by

 Medicaid”).) The jury considered both parties’ arguments and determined that Janssen’s OL

 marketing violations were material to the Government’s payment decisions. As the Court may not

 “weigh the evidence, determine the credibility of witnesses, or substitute its version of the facts

 for the jury’s version,” the Court is satisfied, based on the foregoing, that Relators presented

 sufficient evidence from which a reasonable juror could find that Janssen’s OL marketing

 violations were material to the Government’s reimbursement decisions. Lightning Lube, Inc., 4

 F.3d at 1166.

        With respect to falsity, Relators were required to prove that the claims submitted to

 Medicaid, Medicare, or ADAP, or caused to be submitted by Janssen, were false. (Final Jury

 Instructions 31, Instruction No. 19.1). The Court instructed the jury that a claim made to a federal

 health care program, including Medicaid, Medicare or ADAP, is false “if it seeks reimbursement

 for a prescription that is not eligible for reimbursement.” (Id. at 22, 31.) During trial, Relators

 introduced testimony from HIV expert Aaron E. Glatt, who opined that while Janssen promoted

 Prezista for treatment-naïve patients, Prezista’s label was not indicated for treatment-naïve patients




                                                  11
Case 3:12-cv-07758-ZNQ-JBD           Document 496         Filed 03/28/25      Page 12 of 35 PageID:
                                           31043



 from 2006–2008, nor did recognized compendia support the use of Prezista in treatment-naïve

 patients. (See 5/20/24 Tr. at 2329:24–2333:20, ECF No. 448.) Glatt also testified that while

 Janssen promoted Intelence for once-a-day dosing and for treatment-naïve patients, Intelence’s

 label was only indicated for twice-a-day and for a “very specific group of experienced patients.”

 (Id. at 2307:9–2315:23, 2316:8–19.) Relators also elicited testimony from Janssen’s national sales

 director, Michael Iacobellis, who testified that prescribing Intelence for once-daily dosing was

 contrary to the drug’s indicated label and that such messages would be “off-label” and not

 approved by the FDA. (5/14/24 Tr. at 1461:1–21, ECF No. 447.) In other words, Relators

 introduced evidence that demonstrated Janssen’s marketing of Prezista and Intelence were OL,

 and that this OL marketing violated an express condition of payment for reimbursement under

 Medicare, Medicaid, or ADAP. Taken together, the Court finds that a reasonable jury could have

 found that claims for Prezista and Intelence submitted to Medicare, Medicaid, or ADAP were OL

 and ineligible for reimbursement.

        After reviewing the record in full, the Court is satisfied that there is ample evidence to

 support the jury’s verdict of liability under the FCA. It is not the Court’s role to second-guess the

 jury’s fact-finding and consideration of the evidence.        Drawing all reasonable and logical

 inferences in Relators’ favor, the Court finds that Janssen has failed to carry its high burden of

 demonstrating that “any verdict other than the one directed would be erroneous under the

 governing law” and therefore denies Janssen’s Rule 50 Motion as to liability under the federal

 FCA. Brownstein v. Lindsay, 742 F.3d 55, 63 (3d Cir. 2014) (quoting Macleary v. Hines, 817 F.2d

 1081, 1083 (3d Cir. 1987)); see Klein v. Hollings, 992 F.2d 1285, 1290 (3d Cir. 1993).




                                                  12
Case 3:12-cv-07758-ZNQ-JBD                  Document 496             Filed 03/28/25          Page 13 of 35 PageID:
                                                  31044



                   2.       Jury’s Finding of Liability Under the State False Claims Acts

          In addition to finding that Janssen violated the FCA, the jury found that Janssen violated

 each of the twenty-seven state FCAs. 4 Janssen argues that the Court should grant Janssen

 judgment as a matter of law on the state law claims because Relators failed to present any evidence

 specific to Relators’ state law claims. Janssen’s argument is two-fold: 1) Relators failed to

 establish the coverage requirements of any of the state Medicaid and ADAP programs which have

 their own coverage schemes that are distinct from Medicare; and 2) Relators failed to prove

 causation, materiality and falsity as to these programs. (Rule 50 Moving Br. 38–43). 5

          As a preliminary matter, to the extent that Janssen contends the jury only considered

 potential liability stemming from the fraudulent submission of Medicaid and ADAP claims when

 assessing liability under the state FCAs, and not under the federal FCA, the Court rejects this

 notion. 6 (See Rule 50 Moving Br. 8–10, 38 (arguing that Relators’ state law claims “implicates

 ‘the conditions of payment’ established by the respective states’ Medicaid and ADAP programs”

 but that Relators’ claims under the FCA implicates the conditions of payment established by

 Medicare Part D).) It is well-established that causing a physician to fraudulently submit a claim


 4
  The twenty-seven state FCAs at issue are those of California, Colorado, Connecticut, Delaware, Florida, Georgia,
 Hawaii, Illinois, Indiana, Iowa, Louisiana, Massachusetts, Michigan, Minnesota, Montana, Nevada, New Jersey, New
 Mexico, New York, North Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Virginia, Washington, and the
 District of Columbia.
 5
   Janssen also contends that the Court erred in instructing the jury that they must also find Janssen liable on the state
 law claims if they found Janssen liable on the federal FCA claim. (Rule 50 Moving Br. 40, n. 26.)
 6
   At trial, for example, counsel for Janssen argued that in order for a state to recover damages for Medicaid fraud under
 the FCA, Relators’ claims “have to be litigated . . . under the state False Claims Act.” (6/11/24 Tr. at 7901:7–13.) As
 the Court explains above, this contention is incorrect. Many states have recovered, and continue to recover, in multi-
 state actions filed under the federal FCA without their own FCA statute. For example, Ohio and Kentucky have
 successfully recovered millions of dollars in Medicaid fraud actions, without having state FCAs. See, e.g., AG
 Announces Settlement to Recover $446,800 for Ohio Medicaid Program, Circleville Herald (May 15, 2017),
 https://www.circlevilleherald.com/community/ag-announces-settlement-to-recover-for-ohio-medicaidprogram/ar-
 ticle_341e1daf-fb18-5aa0-838b-f46b760f1029.html; Mark Payne, DaVita Healthcare Partners Settles Claims for $22
 M, Washington Examiner (Jan. 8, 2015), https://www.washingtonexaminer.com/policy/healthcare/1221674/davita-
 healthcare-partners-settles-fca-claims-for-22m/.



                                                           13
Case 3:12-cv-07758-ZNQ-JBD           Document 496        Filed 03/28/25      Page 14 of 35 PageID:
                                           31045



 to any federal healthcare program, including Medicaid and ADAP, can give rise to liability under

 the federal FCA. See Universal Health Servs., Inc. v. United States, 579 U.S. 176 (2016)

 (explaining that Medicaid is a “joint state-federal program” and that FCA liability may arise where

 a company causes the submission of fraudulent Medicaid claims); U.S. ex rel. Tyson v. Amerigroup

 Illinois, Inc., Civ. No. 02-6074, 2005 WL 2667207, at *2–3 (N.D. Ill. Oct. 17, 2005) (discussing

 the legislative history of the FCA and explaining the FCA applies to “circumstances where claims

 are submitted to State, local, or private programs funded in part by the United States” including

 “claims submitted to state Medicaid agencies or intermediaries”). The Court thus properly

 instructed the jury that Medicare, Medicaid, and ADAP are each “federal health care programs”

 within the ambit of the FCA and that the submission of false claims under any of these programs

 could give rise to liability under the FCA. (Final Jury Instructions 22, 30–34, Instruction Nos. 17,

 19.) Accordingly, when evaluating Janssen’s liability under the FCA, the jury evaluated whether

 claims for Prezista or Intelence submitted under Medicaid and ADAP programs were false, caused

 by Janssen’s unlawful conduct, and material to the Government’s payment decisions.

        Notwithstanding this fact, the Court agrees with Janssen that Relators failed to introduce

 sufficient evidence from which a reasonable juror could find Janssen liable on the state FCAs.

 During trial, Relators presented no evidence regarding the scope or elements of each state FCA,

 what type of fraudulent claims would lead to liability under these state FCAs, and what amount of

 damages each state suffered as a result of the statutory violations. Instead of introducing evidence

 specific to their state law claims, Relators premised their entire case on the legal argument that

 because Janssen’s conduct violated the federal False Claims Act, Janssen’s conduct also violated

 each of the analogous state statutes. (See Proposed Jury Instructions 68–69, Disputed Instruction

 No. 25; Rule 50 Opp’n Br. 50–56.)




                                                 14
Case 3:12-cv-07758-ZNQ-JBD            Document 496        Filed 03/28/25      Page 15 of 35 PageID:
                                            31046



        At trial, Relators urged the Court to adopt a jury instruction that would direct the jury to

 find liability on all the state FCAs should the jury find liability under the FCA. (See 6/11/24 Tr.

 at 7898:17–7916:17; Proposed Jury Instructions 68–69, Disputed Instruction No. 25.)                In

 proposing this jury instruction, Relators generally cited each state’s FCA, but otherwise failed to

 provide the Court with any further analysis regarding the elements of each statute, their scope, or

 how they mirrored the FCA. (Proposed Jury Instructions 68–69, Disputed Instruction No. 25.)

 Relators cited to a single case in which the Government proposed a similar jury instruction. See

 United States ex rel. Kester v. Novartis Pharm. Corp., Civ. No. 11-08196, ECF No. 476 (S.D.N.Y.

 July 2, 2015) (proposing the court instruct the jury that they must find defendant liable on all state

 FCAs should they find the defendant liable under the FCA). However, it is now clear that the case

 Relators relied upon settled before the parties could brief this proposed jury instruction, and it was

 never adopted by that court. Id. In fact, Relators cite to no authority in which a court actually

 made this finding, or adopted a similar proposed jury instruction, and the Court is further unaware

 of any such authority. (See Proposed Jury Instructions 68–69, Disputed Instruction No. 25; Rule

 50 Opp’n Br. 50–56.)

        While it appears that courts have occasionally observed that federal and state FCA claims

 “succeed or fail together,” courts have generally only held so where “no party has alleged a

 material difference between the standards applicable to the FCA and equivalent state laws.” See,

 e.g., United States ex rel. Travis v. Gilead Scis., Inc., 596 F. Supp. 3d 522, 543 n. 159 (E.D. Pa.

 2022). Here, however, Janssen does challenge the congruence of the state FCAs to the FCA. (See

 6/11/24 Tr. at 7898:17–7916:17; Proposed Jury Instructions 69–70, Disputed Instruction No. 25.)

 Janssen, for example, disputes whether false ADAP claims would give rise to liability under each

 state FCA. (Rule 50 Reply Br. 18, n. 14, ECF No. 485.) Because Janssen raised arguments




                                                  15
Case 3:12-cv-07758-ZNQ-JBD              Document 496       Filed 03/28/25      Page 16 of 35 PageID:
                                              31047



 “specific to the state statutes,” it was Relators’ burden to articulate the elements of each state FCA,

 how each state FCA mirrored the federal FCA, and whether the state analog applied to fraudulent

 Medicaid and ADAP claims. See U.S. ex rel. Portilla v. Riverview Post Acute Care Ctr., Civ. No.

 12-1842, 2014 WL 1293882, at *9 (D.N.J. Mar. 31, 2014) (noting parallel outcomes on federal

 and NJFCA are appropriate where “the parties raise no arguments specific to the state statutes”).

        While the Court did adopt Relators’ proposed instructions at trial, the Court also notes that

 before the parties’ closing arguments, it specifically cautioned Relators regarding the lack of

 evidence they had introduced on their state law claims and emphasized that the Court’s acceptance

 of Relators’ verdict sheet should not be taken as acceptance that Relators’ evidence was sufficient.

 The Court explained, in relevant part:

                I want to make sure that Relators are on notice that if there is a
                verdict of liability on those state claims, by no means are you
                covered by the fact that I’ve approved this verdict sheet. If anything,
                you might have actually caused yourself a greater issue because
                you’ve condensed this verdict sheet, where you’re not allowing the
                jurors to allocate damages to each state, and you’re not allowing
                them to make a determination as to the number of false claims per
                state. You’re not even allowing them to determine the number of
                false claims for the states as a group.

 (6/11/24 Tr. at 7906:15–25.) In fact, the Court predicted that this issue would become a focus of

 the parties’ post-trial briefing. (Id. at 7906:9–12) (“I have some concerns about how the state law

 claims were presented during this trial, and I’m reserving on that decision because I have allowed

 Janssen to file a Rule 50 motion.”).

        After consideration of the parties’ post-trial briefing and the trial evidence, the Court now

 finds that Relators failed to present sufficient evidence or analysis regarding the elements or scope

 of each state FCA at trial, despite the Court’s warning prior to closing arguments, and that it was




                                                   16
Case 3:12-cv-07758-ZNQ-JBD                 Document 496            Filed 03/28/25         Page 17 of 35 PageID:
                                                 31048



 error to accept Relator’s proposed jury instruction. 7 As a result, the record is “critically deficient

 of that minimum quantity of evidence” from which a jury might find Janssen liable under the state

 FCAs. In re Lemington Home for the Aged, 777 F.3d at 626. Accordingly, the Court will grant

 judgment as a matter of law to Janssen on Relators’ state law claims, and will vacate the jury’s

 award of $30,001,184 to the States under the state FCAs.

         To be clear, whether or not Relators carried their burden of proof under the state law claims

 has no bearing on the jury’s finding of liability and damages under the federal FCA. In assessing

 Janssen’s liability under the federal FCA, the jury independently determined that Janssen had

 caused the submission of 159,574 claims to the Government, and that the United States suffered

 $120,004,736 as a result of these violations. (Verdict Form 2; see also Final Jury Instructions,

 Instruction Nos. 26, 28; 6/11/24 Tr. at 7946:16–7947:24.) Accordingly, the damages the jury

 awarded to the States under the state FCAs is wholly severable from the damages the jury

 independently awarded to the United States under the federal FCA.

                  3.       Jury Verdict on Damages

         Janssen next argues that the jury’s verdict on the number of claims and amount of damages

 cannot be sustained because: (1) the jury was instructed on the wrong measure of damages;

 (2) Relators’ damages model was based on erroneous assumptions; (3) the number of claims and

 amount of damages are arbitrary and based on unsupported evidence; and (4) there is no basis to




 7
   Relators also failed to prove by a preponderance of the evidence the damages each state suffered as a result of any
 violations of the state FCAs. Attesting to this failure, while the jury awarded the States a lumpsum award of
 $30,001,184, Relators provided the Court with no method of allocating this award among the state parties. (See
 Verdict Form.) During trial, Relators claimed they were in touch with the National Association of Medicaid Fraud
 Units (“NAMFCU”), and that NAMFCU could help distribute any lumpsum awarded to the States. (6/11/24 Tr. at
 7899:15–19; 7902:15–20.) In Relators’ post-trial briefing, however, other than vaguely asserting in a footnote that
 the States are “all . . . members of [NAMFCU],” Relators fail to detail NAMFCU’s involvement in the instant action
 or how NAMFCU would allocate this award. (See Judgment Reply Br. 9, n.6, ECF No. 488).



                                                         17
Case 3:12-cv-07758-ZNQ-JBD          Document 496         Filed 03/28/25      Page 18 of 35 PageID:
                                          31049



 identify the number of federal as opposed to state claims or damages. The Court finds each of

 these arguments unpersuasive.

                       a)      Measure of Damages

        Janssen first contends that the Court’s instruction to the jury that the amount of damages is

 “the full amount paid by the Government” to Janssen “as the result of [the] false claims,” (Final

 Jury Instructions, Instruction No. 26), was incorrect because under Third Circuit precedent, FCA

 damages are equal to “the difference in cost between that contracted for and that received.” United

 States v. Hibbs, 568 F.2d 347, 351 (3d Cir. 1977). While the Third Circuit applies this measure of

 damages in certain cases brought under the FCA, it is more aptly employed, for example, where

 the Government has paid for goods or services that return a tangible benefit to the Government.

 Hibbs, 568 F.2d at 347 (applying this standard where “the damages [we]re essentially similar to

 those sustained when a defective article is purchased in a fraudulent transaction”). Here, however,

 the Government received no measurable or tangible benefit from Janssen’s conduct. Janssen

 contends that the Government was conferred the benefit of “effective treatment for patients with

 HIV,” but such an alleged benefit is intangible and impossible to calculate. (Rule 50 Moving Br.

 45); see U.S. ex rel. Feldman v. van Gorp, 697 F.3d 78, 91 (2d Cir. 2012) (explaining that the

 “benefit of the bargain” standard is “not . . . the methodology generally employed by courts

 evaluating FCA claims based on Medicaid or Medicare fraud” and concluding that the appropriate

 measure of damages in such a case is “the full amount the [G]overnment paid based on materially

 false statements” because the Government received “no tangible benefit” from defendant’s

 conduct); United States ex. rel. Doe v. DeGregorio, 510 F. Supp. 2d 877 (M.D. Fla. 2007) (holding

 that the damages were “the amount of money the Government paid out by reason of the false

 claims”).




                                                 18
Case 3:12-cv-07758-ZNQ-JBD           Document 496         Filed 03/28/25      Page 19 of 35 PageID:
                                           31050



        Here, because the Government did not receive any tangible or measurable benefit from

 Janssen’s conduct, the Court finds that the proper measure of damages is the full amount the

 Government paid for the false claims, and that the Court did not err in instructing the jury on this

 measure of damages. See United States v. Rogan, 517 F.3d 449, 453 (7th Cir. 2008) (holding that

 where “[t]he [G]overnment offers a subsidy . . . with conditions” and “the conditions are not

 satisfied, nothing is due” and “the entire amount that [the defendant] received” for the false claims

 “must be paid back”); see also United States v. Mackby, 339 F.3d 1013, 1018 (9th Cir. 2003);

 United States ex rel. Drakeford v. Tuomey, 792 F.3d 364, 386 (4th Cir. 2015).

                        b)      Reliability of Relators’ Damages Experts’ Calculations

        Janssen next argues that Relators’ damages experts’ calculations lacked factual basis and

 were based on erroneous assumptions. (Rule 50 Moving Br. 46–47.) As Relators point out, this

 is the third time that Janssen has raised such arguments challenging the reliability of the

 methodology employed by Relators’ damages experts, and the Court has rejected Janssen’s

 arguments each time. (See ECF No. 294 at 31–37; ECF No. 493; 6/10/24 Tr. at 7748:16–7749:23,

 7753:12-16, ECF No. 470.) The Court declines to revisit these issues and maintains that the proper

 mechanism for Janssen’s challenges to the assumptions and choice of methodology employed by

 Relators’ damages experts was at trial during cross-examination. (ECF No. 493 at 7–9); Stecyk v.

 Bell Helicopter Textron, Inc., 295 F.3d 408, 414 (3d Cir. 2002) (“A party confronted with an

 adverse expert witness who has sufficient, though perhaps not overwhelming, facts and

 assumptions as the basis for his opinion can highlight those weaknesses through effective

 cross-examination.”) Indeed, Janssen was afforded multiple opportunities to cross examine

 Relators’ expert witnesses during trial and did so at length. (See 6/3/24 Tr. at 5497:12–5593:7;

 6/10/24 Tr. at 7732:18–7742:25; see also 6/7/24 Tr. at 7300:3–7307:11, 7345:4–7371:25, ECF

 No. 453; 6/10/24 Tr. at 7750:3–15.)


                                                  19
Case 3:12-cv-07758-ZNQ-JBD                Document 496           Filed 03/28/25         Page 20 of 35 PageID:
                                                31051



                           c)       Basis of Jury Award

         Janssen next contends that the number of claims and the amount of damages the jury

 awarded were arbitrary and based on unsupported evidence. A court reviewing a jury verdict has

 an “obligation . . . to uphold the jury’s award if there exists a reasonable basis to do so.” Evans v.

 Port Auth. of N.Y. & N.J., 273 F.3d 346, 351-52 (3d Cir. 2001) (quoting Motter v. Everest &

 Jennings, Inc., 883 F.2d 1223, 1230 (3d Cir. 1989)).

         Here, the jury returned a verdict of $120,004,736 for Relators on the federal FCA violation

 and found that Janssen caused 159,574 false claims to be submitted in violation of the federal

 FCA. 8 (Verdict Form.) Janssen argues that because Relators’ damages expert, Shaked, proposed

 that the jury find damages in either $446.7 million or $361.9 million, reflecting the submission of

 either 593,996 or 481,265 false claims, and the jury reached a different finding, the jury’s award

 “rests on [] guesswork or speculation” and cannot be sustained. (Rule 50 Moving Br. 48–49.) The

 Court disagrees and finds that the evidence adduced at trial supports the jury’s verdict to a

 reasonable degree of certainty. See Evans, 273 F.3d at 351–52. At trial, Relators presented

 evidence that established varying amounts of damages the Government incurred as a result of

 Janssen’s OL marketing and promotion. (See ECF No. 481-2.) Relators, for example, presented

 differing damages estimates based on the type of drug and specific OL promotions the

 reimbursements were related to. (Id.)

         The jury also heard testimony from Janssen’s damages expert, Anupam Jena, who

 challenged the reliability of some of Shaked’s data analyses, but testified that other parts of

 Shaked’s estimates were “correct.” (See 6/10/24 Tr. at 7617:11–7621:12; 6/7/24 Tr. 7316:1–22).

 Janssen further challenged the reliability and sufficiency of some of the damages data Relators


 8
   Because the Court will grant judgment as a matter of law to Janssen on the state law claims, and will vacate the
 jury’s award of $30,001,184 on these violations, the Court only addresses the jury’s damages award under the FCA.


                                                        20
Case 3:12-cv-07758-ZNQ-JBD           Document 496         Filed 03/28/25      Page 21 of 35 PageID:
                                           31052



 presented, including by arguing that the ADAP data Relators presented did not demonstrate that

 the prescribing physicians were contacted by Janssen. (See 6/11/24 Tr. at 8091–92.).

        In light of the numerous challenges raised regarding Relators’ proffered evidence of

 damages, “it was within the jury’s realm, as the finder of the facts, to reject []the extreme figures

 proffered by the litigants as incredible and substitute an intermediate figure as a matter of its

 judgment from all of the evidence.” Fuji Photo Film Co. v. Jazz Photo Corp., 249 F. Supp. 2d

 434, 453 (D.N.J. 2003), aff’d, 394 F.3d 1368 (Fed. Cir. 2005); Cosimano v. Twp. of Union, Civ.

 No. 10-5710, 2017 WL 1395493, at *3 (D.N.J. Apr. 17, 2017) (explaining a jury is “free to accept

 or reject the figure calculated by Plaintiff’s expert” and that the jury “can choose to reduce the

 expert’s number based upon such things as their determination as to her credibility or the

 underlying assumptions upon which the calculations were made”). Mindful of its role to be

 “deferential to a jury’s damages verdict,” the Court finds that there was a reasonable basis from

 which the jury could conclude that Janssen caused the submission of 159,574 false claims in

 violation of the federal FCA, and that the Government sustained $120,004,736 in damages as a

 result. Leonard v. Stemtech Int’l Inc., 834 F.3d 376, 392 (3d Cir. 2016).

                        d)      Number of False Claims

        Janssen further argues that because Relators’ state law claims fail as a matter of law, the

 jury’s finding of the number of claims cannot be sustained because it includes federal and state

 claims, with no basis in the record to disaggregate them. (Rule 50 Moving Br. 49.) This contention

 is incorrect. As the Court noted supra III(A)(2), whether or not Relators carried their burden of

 proof under the state law claims has no bearing on the jury’s finding that Janssen’s conduct caused

 the submission of false Medicare, Medicaid, or ADAP claims under the federal FCA.

        While Relators ultimately failed to carry their burden on the proving the state law claims,

 the jury reasonably found that Janssen’s conduct violated the FCA and that Janssen caused the


                                                  21
Case 3:12-cv-07758-ZNQ-JBD                   Document 496            Filed 03/28/25           Page 22 of 35 PageID:
                                                   31053



 submission of 159,574 false claims to the Government. The jury instructions and question two of

 the Verdict Form were clear in directing the jury to only identify the number of false claims that

 were submitted to the Government, and not to identify any claims that were submitted to the states.

 (See 6/11/24 Tr. 7946:16–7947:24 (confirming that the jury must only identify “the number of

 false or fraudulent claims that were submitted to the United States”). 9 Accordingly, the Court

 finds that the number of claims the jury identified as false or fraudulent under the FCA can be

 sustained, notwithstanding the Court’s granting of judgment as a matter of law on Relators’ state

 law claims.

          Drawing all reasonable and logical inferences in the nonmovant’s favor, the Court finds

 that Janssen fails to meet its heavy burden of showing that “a miscarriage of justice would result

 if the verdict were to stand” on the FCA claim. Klein, 992 F.2d at 1290. Accordingly, Defendant’s

 Motion for Judgment as a Matter of Law will be denied as to this issue.

                   4.        Government Action and Public Disclosure Bars

          Finally, Janssen argues that this Court has no subject matter jurisdiction under the FCA’s

 government action and public disclosure bars. (Rule 50 Moving Br. 52–53.) Specifically, Janssen

 contends that: (1) the government action bar precludes Relators claims because Janssen entered a

 CIA with the Government in 2010 to settle allegations related to the OL marketing of another drug;

 and (2) the public disclosure bar precludes Relators’ claims because allegations related to the OL

 marketing of other drugs were publicly disclosed in connection with two CIAs that Janssen

 executed in 2010 and 2013. Janssen’s arguments are unpersuasive.



 9
   Jury Instruction No. 28 was initially drafted to instruct the jury to identify “the number of false or fraudulent claims
 that were submitted to the United States, the states, and the District of Columbia.” (Final Jury Instructions 45,
 Instruction No. 28.) Prior to delivering the written instructions to the jury, counsel for Relators confirmed that this
 instruction should be revised to remove mention of “the states, and the District of Columbia” and should only instruct
 the jury for a finding on the “number of false or fraudulent claims that were submitted to the United States.” (6/11/24
 Tr. 7946:16–7947:24.)


                                                            22
Case 3:12-cv-07758-ZNQ-JBD                 Document 496           Filed 03/28/25         Page 23 of 35 PageID:
                                                 31054



         The government action bar is inapplicable to the instant case because Relators’ allegations

 were not “the same as allegations already made by the [G]overnment” and were not “based on the

 same underlying facts.” See Sturgeon v. Pharmerica Corp., 438 F.Supp.3d 246, 262 (E.D. Pa.

 2020). Here, assuming the 2010 CIA is sufficient to trigger the government action bar under the

 FCA, the Government’s allegations which led to the 2010 CIA related to the alleged OL marketing

 of the drug Topamax—not Prezista or Intelence—and were thus substantially dissimilar to

 Relators’ claims here. See RX423; Sturgeon, 438 F.Supp.3d at 262 (explaining that a relator’s

 allegations must be “similar enough to be characterized as feeding off of the [G]overnment’s

 allegations” for the government action bar to apply and that the bar does not apply where a relator

 seeks to “remedy fraud that the [G]overnment has not yet attempted to remedy”).

         With respect to the public disclosure bar, after Janssen filed its Rule 50 Motion, the United

 States filed a statement of interest, exercising its right to object to dismissal of this action based

 on the public disclosure bar for FCA claims accruing on or after March 23, 2010. 10 (U.S. Statement

 of Interest, ECF No. 478.)

         The public disclosure bar of the FCA provides in relevant part:

                  The court shall dismiss an action or claim under this section, unless
                  opposed by the Government, if substantially the same allegations or
                  transactions as alleged in the action or claim were publicly disclosed
                  – (i) in a Federal criminal, civil, or administrative hearing in which
                  the Government or its agent is a party; (ii) in a congressional,
                  Government Accountability Office, or other Federal report, hearing,
                  audit, or investigation; or (iii) from the news media, unless the
                  action is brought by the Attorney General or the person bringing the
                  action is an original source of the information.




 10
    The FCA’s public disclosure bar was amended on March 23, 2010. Congress amended the FCA in 2010 and in so
 doing “overhauled the public disclosure bar,” “radically chang[ing] the ‘hurdle’ for relators.” U.S. ex rel. Moore &
 Co., P.A. v. Majestic Blue Fisheries, LLC, 812 F.3d 294, 298 (3d Cir. 2016). In Graham County Soil and Water
 Conservation Dist. v. U.S. ex rel. Wilson, 559 U.S. 280, 283 n.1 (2010), the Supreme Court held that this amendment
 was not retroactive. Thus, it applies only to FCA claims accruing on or after the effective date of the amendment.


                                                         23
Case 3:12-cv-07758-ZNQ-JBD           Document 496        Filed 03/28/25      Page 24 of 35 PageID:
                                           31055



 31 U.S.C. § 3730(e)(4)(A) (2010) (emphasis added).

        Because the public disclosure bar of the FCA provides that the Court shall dismiss an action

 “unless opposed by the Government,” and here, the Government exercised its right by objecting to

 such dismissal, the Court denies Janssen’s motion to dismiss this action on these grounds. Id.

        Janssen also asks the Court to hold that the qui tam provisions of the FCA are

 unconstitutional because it represents an impermissible delegation of executive power to a private

 party. (Rule 50 Moving Br. 54–55.) Janssen relies on a recent decision in the Middle District of

 Florida in which the district court departed from the longstanding and nationwide consensus that

 these provisions do not violate the separation of powers, and instead held that the qui tam

 provisions are an unconstitutional exercise of executive power. United States ex rel. Zafirov v.

 Florida Medical Associates, LLC, Civ. No. 19-1236, 2024 WL 4349242 (M.D. Fla. Sept. 30,

 2024). The Court declines to follow this singular non-precedential and out-of-circuit court

 decision, and instead follows every federal circuit court of appeals that has addressed this issue

 and holds that the FCA’s qui tam provisions are constitutional. United States ex rel. Stone v.

 Rockwell Int’l Corp., 282 F.3d 787 (10th Cir. 2002); Riley v. St. Luke’s Episcopal Hosp., 252 F.3d

 749 (5th Cir. 2001) (en banc); United States ex rel. Taxpayers Against Fraud v. General Elec. Co.,

 41 F.3d 1032 (6th Cir. 1994); United States ex rel. Kelly v. Boeing Co., 9 F.3d 743 (9th Cir. 1993);

 see also United States ex rel. Kreindler & Kreindler v. United Techs. Corp., 985 F.2d 1148 (2d

 Cir. 1993).

        B.      Janssen’s Motion for a New Trial

        Janssen also moves for a new trial pursuant to Rule 59 and raises many of the same

 arguments it raises in its Rule 50 Motion. (See generally Rule 50 Moving Br.; Rule 59 Moving

 Br., ECF No. 474-1.) Janssen argues that Relators failed to prove elements of their FCA and state




                                                 24
Case 3:12-cv-07758-ZNQ-JBD            Document 496        Filed 03/28/25      Page 25 of 35 PageID:
                                            31056



 FCA claims, and that these failures of proof, exacerbated by errors in at least three of the Court’s

 jury instructions, “created an atmosphere of confusion for the jury” that justifies a new trial. (Rule

 59 Moving Br.)

                1.      Jury’s Finding of Liability Under the Federal False Claims Act

        Janssen first contends, as it did in its Rule 50 Motion, that Relators failed to prove

 causation, materiality, and falsity of a claim under the FCA, and that this evidentiary failure

 warrants a new trial. Although the standard for granting a new trial is “less demanding” than the

 standard for granting judgment as a matter of law, the Court finds that even under the less

 demanding standard, Janssen has failed to establish that the jury’s finding of liability under the

 federal FCA is contrary to the great weight of evidence. Boehringer Ingelheim Vetmedica, Inc.,

 166 F. Supp. 2d at 28; Dougherty v. Marshalls of MA, Inc., 460 Fed. Appx. 132, 135 (3d Cir. Jan.

 26, 2012) (explaining where a motion for a new trial is based predominantly on the weight of the

 evidence, the motion should be granted “only when the record shows that the jury’s verdict resulted

 in a miscarriage of justice or where the verdict, on the record, cries out to be overturned or shocks

 [the] conscience.”)    As the Court explained supra III(A)(1), Relators presented substantial

 evidence at trial that supports the jury’s findings on causation, materiality, and falsity under the

 FCA. Thus, with respect to the jury’s finding of liability under the FCA, the Court finds that the

 record does not show that the jury’s verdict resulted in a miscarriage of justice or shocks the

 conscience. Dougherty, 460 F. App’x at 135.

                2.      Purported Errors in the Jury Instructions

        Janssen next contends that three of the Court’s instructions to the jury—Instruction No. 23

 (Federal and State FCAs), Instruction No. 26 (Measure of Damages), and Instruction No. 22 (FDA

 Approval)—contained errors that the jury proved unable to navigate in delivering its verdict. (Rule

 59 Moving Br. 3–4.)


                                                  25
Case 3:12-cv-07758-ZNQ-JBD           Document 496        Filed 03/28/25      Page 26 of 35 PageID:
                                           31057



        The standard for ordering a new trial based on a claim of erroneous jury instructions is

 high. “A new trial on the ground of erroneous jury instructions is permissible only when it is clear

 that an error in [the] instructions as a whole was such as to have misled the jury.” New Idea Farm

 Equip. Corp. v. Sperry Corp., 916 F.2d 1561, 1567 (Fed. Cir. 1990). In reviewing jury instructions,

 the court must consider the entire trial record, because “instructions take on meaning from the

 context of what happened at trial, including how the parties tried the case and their arguments to

 the jury.” Hilton Davis Chem. Co. v. Warner-Jenkinson Co., 62 F.3d 1512, 1522 (Fed. Cir. 1995),

 rev’d on other grounds, 520 U.S. 17 (1997).

        As discussed supra III(A)(3)(a), the Court finds that Instruction No. 26, which instructed

 the jury on the measure of damages, was proper. With respect to Instruction No. 22, Janssen argues

 that the instruction “effectively instructed the jury to ignore the undisputed testimony of Dr. Amit

 Patel,” who testified that standard practice in the industry interpreted silence from the FDA’s

 Division of Drug Marketing, Advertising, and Communications (“DDMAC”) as approval. (Rule

 59 Moving Br. 4.) Jury Instruction 22 instructed:

                You have heard testimony from a Janssen employee, Dr. Amit Patel,
                about the FDA’s silence in response to certain of Janssen’s
                promotional advertising submissions regarding Prezista and lipids.
                You also heard him testify that Janssen considered the FDA’s
                silence in response to those advertising submissions as the FDA’s
                indirect or tacit approval of Janssen’s advertising. I am instructing
                you that there is no statute or regulation that says that the FDA’s
                silence means that it has approved a promotional advertising
                submission.

        Janssen contends that the Court erred in not including the language “or disapproved” as

 Janssen proposed including in its proposed jury instructions. (Rule 59 Moving Br. 12–13

 (explaining Janssen’s proposed language would have clarified “there is no statute or regulation

 that says that the FDA’s silence means that it has approved or disapproved a promotional




                                                 26
Case 3:12-cv-07758-ZNQ-JBD            Document 496        Filed 03/28/25       Page 27 of 35 PageID:
                                            31058



 advertising submission.”).) Janssen argues that the Court’s failure to include Janssen’s proposed

 language improperly influenced the jury to find scienter and falsity. (Id.)

         The Court is not persuaded there was any error in this jury instruction. Janssen does not

 challenge the accuracy of this jury charge, but rather asserts this jury charge was somehow

 misleading because the Court did not adopt Janssen’s exact proposed language. However, “[a]

 trial judge is not required to adopt the exact wording of a point for charge submitted by counsel.”

 Posttape Associates v. Eastman Kodak Co., 537 F.2d 751, 757 (3d Cir.1976). Rather, a court

 assesses whether the jury charge, taken as a whole, accurately instructed the jury. See Colegrove

 v. Cameron Mach. Co., 172 F. Supp. 2d 611, 634 (W.D. Pa. 2001) (“[i]f the jury charge, taken as

 a whole, accurately instructed the jury, then there is no error in [the Court] rejecting a party’s

 suggested point for charge in favor of another statement of the applicable law.”) Here, the Court

 finds that it accurately instructed the jury on this issue, and the Court’s omission of the phrase “or

 disapproved” did not mislead the jury. In fact, adopting Janssen’s proposed language would have

 had the very misleading effect Janssen now attempts to raise in its motion. The Court rightfully

 rejected it.

         With respect to Instruction No. 23, for the reasons outlined supra in III(A)(2), the Court

 agrees with Janssen that it was error to adopt Relators’ instruction. The Court must accordingly

 determine whether this error had a “substantial influence” on the jury’s remaining verdict of

 liability under the federal FCA. United States v. Thornton, 1 F.3d 149, 156 (3d Cir. 1993), cert.

 denied, 510 U.S. 982 (1993) (quoting United States v. Hill, 976 F.2d 132, 145 (3d Cir.1992) (a

 new trial is only warranted when “the[ ] errors, when combined, so infected the jury’s deliberations

 that they had a substantial influence on the outcome of the trial”); see also Inter Med. Supplies Ltd.

 v. EBI Med. Sys., Inc., 975 F. Supp. 681, 686 (D.N.J. 1997), aff’d and remanded, 181 F.3d 446 (3d




                                                  27
Case 3:12-cv-07758-ZNQ-JBD            Document 496         Filed 03/28/25       Page 28 of 35 PageID:
                                            31059



 Cir. 1999) (citation omitted) (“[E]ven if the court determines that an error was made, it should not

 grant a new trial unless it also determines that the error was so prejudicial that []refusal to take

 such action appears to the court inconsistent with substantial justice”). In this case, the jury’s

 finding of liability under the federal FCA was independent of its finding of liability under the state

 FCAs. The jury was first tasked with determining liability under the FCA before it could then

 determine whether Janssen violated the state FCAs. In other words, had the Court properly

 instructed the jury that liability on the state analogs did not necessarily follow liability on the FCA,

 it is “highly probable” that the jury’s finding of liability under the FCA would have been the same.

 Forrest v. Beloit Corp., 424 F.3d 344, 349 (3d Cir. 2005) (citing McQueeney v. Wilmington Trust

 Co., 779 F.2d 916, 924 (3d Cir.1985) (an error is harmless if it is “highly probable” that it did not

 affect the outcome of the case). The Court thus finds that although it adopted Instruction No. 23,

 the Court did not fail to apprise the jury of Relators’ burden of proof under the FCA, nor did the

 Court confuse the jury as to its role in identifying the number of false claims that were submitted

 to the Government.

         After reviewing the evidence in full, the Court cannot conclude that the jury’s verdict was

 against the great weight of the evidence on the FCA claim. On the state law claims in which the

 Court is overturning the jury’s verdict and finding that judgment as a matter of law should be

 granted in favor of Janssen, a new trial is not warranted because the Court’s decision effectively

 resolves these issues. See Lucent Techs., Inc. v. Newbridge Networks Corp., 168 F. Supp. 2d 181,

 257 (D. Del. 2001) (overturning the jury’s verdict and granting judgment as a matter of law on

 certain issues but nonetheless denying motion for a new trial because the court’s decision was

 “sufficient to resolve [any] issues”).




                                                   28
Case 3:12-cv-07758-ZNQ-JBD            Document 496        Filed 03/28/25      Page 29 of 35 PageID:
                                            31060



                3.      Jury Deliberations and Verdict

        Janssen’s final argument in support of its Rule 59 Motion is that the jury’s damages award

 reflects an “improper compromise verdict” because the number of claims and damages found by

 the jury are “untethered to any evidence presented at trial.” (Rule 59 Moving Br. 38–39.) Janssen

 further points to the “timeline of communications from the jury during deliberations” and the fact

 that the jury concluded its deliberations on a Thursday evening just before 5 PM, as evidence that

 the jury was “forced to compromise on an impermissible global damages figure because such

 evidence was not available, and because certain members of the jury were not available to

 deliberate the following day.” (Id. at 41–42.) The Court finds these arguments unavailing.

        As discussed supra III(A)(3), the Court finds that there exists a reasonable basis and

 sufficient evidence underlying the jury’s verdict and findings. Furthermore, Janssen’s speculations

 as to whether the jury rushed in its deliberation is without merit. The jury deliberated for over two

 full days, and reached a unanimous verdict, awarding damages in an amount far less than what

 Relators sought. The Court is convinced that the jury properly discharged its duty in evaluating

 the evidence, and that the jury’s verdict was reasonable in light of the evidence presented. See

 Lockhart v. Westinghouse Credit Corp., 879 F.2d 43, 54 (3d Cir. 1989) (rejecting defendant’s

 contention of compromise verdict stating that, on review, court must ascertain “only whether the

 jury’s verdict is reasonable in light of the evidence presented, and not to indulge in unsubstantiated

 and speculative assertions”), overruling recognized on other grounds, Starceski v. Westinghouse

 Electric Corp., 54 F.3d 1089, 1099, n.10 (3d Cir. 1995).

        Having presided over the trial in this matter and having carefully reviewed the arguments

 and evidence presented by counsel in connection with this Rule 59 Motion, the Court finds that

 Janssen fails to raise any arguments sufficient to justify the “extraordinary relief” of granting a

 new trial, and the Court declines Janssen’s invitation to “usurp[] the jury’s prime function as the


                                                  29
Case 3:12-cv-07758-ZNQ-JBD          Document 496        Filed 03/28/25     Page 30 of 35 PageID:
                                          31061



 trier of fact[.]” Boehringer, 166 F. Supp. 2d at 29; Marra v. Phila. Housing Authority, 497 F.3d

 286, n. 18 (3d Cir. 2007). The jury’s verdict finding Janssen liable under the FCA was not against

 the weight of the evidence; rather, it was in accordance with the weight of the evidence. The jury

 was tasked with determining which of the parties’ accounts was more credible, bearing in mind

 Relators’ burden of proof on each of its claims. The jury carried out its duty to evaluate the

 evidence and assess the credibility of all the witnesses. There was an abundance of evidence to

 support the jury’s verdict in favor of Relators on the FCA claim. See United States v. Copple, 24

 F.3d 535, 547, n.17 (3d Cir. 1994). As such, the Court does not find that a miscarriage of justice

 would result if the jury’s verdict as to liability and damages under the FCA stands. See Brennan,

 350 F.3d at 430. Accordingly, Janssen’s Motion for a New Trial will be denied.

        C.      Relators’ Motion for Entry of Judgment

        Having addressed Janssen’s Rule 50 and Rule 59 Motions, the Court next turns to Relators’

 Motion for Entry of Judgment. (See generally Judgment Moving Br., ECF No. 475-1.)

                1.     Trebling of Damages

        Under the FCA, a defendant is liable for “3 times the amount of damages which the

 Government sustains because of the [defendant’s] act.” 31 U.S.C. § 3729(a)(1); Cook Cnty., Ill.

 v. U.S. ex rel. Chandler, 538 U.S. 119, 122 (2003) (“[I]f the [FCA] claim succeeds, the defendant

 is liable to the Government for . . . treble damages”); Yates v. Pinellas Hematology & Oncology,

 P.A., 21 F.4th 1288, 1297 (11th Cir. 2021) (observing that the FCA “mandat[es] the imposition of

 treble damages”). The jury found that the Government suffered $120,004,736 in damages as a




                                                30
Case 3:12-cv-07758-ZNQ-JBD                  Document 496            Filed 03/28/25          Page 31 of 35 PageID:
                                                  31062



 result of Janssen’s conduct. As such, the Court will enter judgment in the amount of $360,014,208

 against Janssen. 11

                   2.       Civil Penalties

          In addition to compensatory damages, the FCA requires that the Court assess civil penalties

 against Janssen based on the number of false claims that they submitted. Under the FCA, the Court

 must assess a fine between $5,500 and $11,000 per false claim. 12 31 U.S.C. § 3729(a)(1); 28

 C.F.R. § 85.3(a)(9). It is within this Court’s discretion whether to impose the maximum, the

 minimum, or some intermediate penalty. Cook Cnty, Ill., 538 U.S. 119, 132 (2003); see also

 United States v. Rogan, 02-3310, 2006 WL 8427270, at *25 (N.D. Ill. Oct. 2, 2006) (“Though the

 imposition of civil penalties are mandatory, 31 U.S.C. § 3729, the court determines the amount of

 the penalty.”)

          In making this determination, courts look to the totality of the circumstances, including the

 egregiousness of the conduct, the Government’s damages, the right of the Government to be made

 completely whole, and general fairness principles. See United States ex rel. Miller v. Bill Harbert

 Intern. Const., Inc., 501 F. Supp. 2d 51, 56 (D.D.C. 2007). Additionally, courts fixing civil

 penalties generally will consider the gravity of the offense, a defendant’s acceptance of

 responsibility or lack of remorse, the need for deterrence, and possible recidivism. See United

 States v. Saavedra, 661 Fed. App’x 37, 46 (2d Cir. 2016); Amerigroup Illinois, Inc., 488 F. Supp.

 2d at 740. Relators seek a statutory violation of $9,000 per claim, whereas Janssen requests that



 11
   Janssen again contends that the “entire federal damages figure is invalid” because “some portion of the jury’s federal
 damages award must be based on federal funding for the state claims that underlie the jury’s state damages award.”
 (Judgment Opp’n Br. 17–18.) As discussed supra III(A)(2), the jury’s award of damages to the Government under
 the FCA is wholly severable from the damages the jury awarded to the States as a result of the state FCA violations.
 12
   Congress has since increased the civil penalty range for an FCA violation. See 28 C.F.R. § 85.5. However, a penalty
 range of $5,500 to $11,000 was the range in effect during the relevant time period. 28 C.F.R. § 85.3(a)(9); (Judgment
 Moving Br. 7, n.4). Accordingly, the Court applies this range in assessing a penalty.


                                                           31
Case 3:12-cv-07758-ZNQ-JBD          Document 496        Filed 03/28/25      Page 32 of 35 PageID:
                                          31063



 the Court’s penalty assessment be “limited to no more than an amount equal to the actual damages

 found by the jury.” (Judgment Moving Br. 36; Judgment Opp’n Br. 40, ECF No. 479.)

                       a)      The Number of False Claims

        Janssen contends that any penalty imposed should not be based on “the number of claims

 those physicians and Plan Sponsors ultimately made to healthcare programs,” but on “the conduct

 in which Relators allege Janssen engaged,” because “the verdict form is hopelessly unclear”

 regarding the number of false claims submitted to the Government. (Judgment Opp’n Br. 25–28,

 n.5.) The Court finds this argument unavailing.

        As noted supra III(A)(3), the jury found Janssen caused the submission of 159,574 false

 claims to the Government, and Relators’ failure to independently prove their state law claims does

 not vitiate this finding in any manner. The Court is further unpersuaded by Janssen’s argument

 that assessing a penalty based on the number of false claims physicians submitted would

 improperly punish Janssen “for the acts of others.” (Judgment Opp’n Br. 26.) It is well-established

 that liability under the FCA extends to third parties whose fraudulent conduct causes the

 submission of false claims to the Government. See Marcus, 317 U.S. at 544. Janssen reaped

 significant benefits from its fraudulent conduct, and Janssen cannot escape the correspondingly

 significant penalties mandated by the FCA by simply arguing that it was not the actual party

 submitting claims to the Government. See Lagerbusch, 361 F.2d at 449 (“We have no doubt that

 the False Claims Act covers such an indirect mulcting of the [G]overnment.”). Accordingly, the

 Court determines the penalty to be assessed based on the jury’s finding that Janssen caused the

 submission of 159,974 false claims to the Government.

                       b)      The Penalty

        In enacting the FCA and mandating “significant” damages, Congress determined that an

 FCA violation is a serious offense and that a civil penalty within the express statutory range was


                                                 32
Case 3:12-cv-07758-ZNQ-JBD           Document 496         Filed 03/28/25      Page 33 of 35 PageID:
                                           31064



 necessary for the effective operation of the FCA. U.S. ex rel. Chandler v. Cook County, Ill., 277

 F.3d 969, 977 (7th Cir. 2002) (“It could not be more clear that Congress, in adopting [the FCA

 damages scheme] addressed the situation with careful precision as to what sort of damage scheme

 was necessary to achieve the goals of the statute”). The Court is thus mindful of its role to grant

 “substantial deference to the broad authority that legislatures necessarily possess in determining

 the types and limits of punishments for crimes,” and declines to impose a penalty below the

 minimum statutory range, as Janssen requests this Court do. U.S. v. Bajakajian, 524 U.S. 321, 334

 (1998) (quoting Solem v. Helm, 463 U.S. 277 (1983)); (Judgment Opp’n Br. 30–33 (arguing that

 the Court should impose a “1:1 ratio as a benchmark” for the relationship between actual damages

 and any assessed penalties).)

        The facts in the record support a civil penalty near the middle of the statutory range of

 $5,500 and $11,000. The Court is convinced that Janssen engaged in a deliberate and calculated

 scheme that spanned several years and involved the unlawful marketing of its products. The

 evidence at trial also demonstrated that Janssen was aware of the seriousness of its conduct, and

 entered into at least three agreements with the Government in the past to resolve allegations related

 to OL marketing of other drugs. See RX423; RX361; RX1624. Further, despite the jury’s verdict,

 Janssen refuses to accept responsibility for its conduct. See Saavedra, 661 Fed. App’x at 46

 (affirming the district court’s award of maximum statutory penalties where defendant issued a

 press release following the jury’s verdict showing “a disturbing refusal to accept responsibility”).

 Following the jury’s verdict, Janssen issued a press release stating the jury’s decision was

 “predicated on a clearly erroneous jury instruction that is contrary to the law” and that Janssen is

 “confident [the jury’s verdict] will be reversed on appeal.” Zoey Becker, J&J to seek appeal of

 $150M verdict in long-spanning HIV meds off-label marketing case, FiercePharma (June 17,




                                                  33
Case 3:12-cv-07758-ZNQ-JBD             Document 496        Filed 03/28/25      Page 34 of 35 PageID:
                                             31065



 2024),      https://www.fiercepharma.com/marketing/jjs-janssen-seek-appeal-150m-verdict-long-

 spanning-hiv-meds-false-claims-act-litigation.

          While the need for deterrence, possible recidivism, Janssen’s evidenced pattern of

 misconduct, and its refusal to accept responsibility counsel in favor of the Court imposing a higher

 civil penalty, the lack of evidence regarding patient harm and general fairness principles counsel

 against the Court imposing the maximum penalty. For example, while Janssen’s OL marketing

 may have caused harm to some patients, Relators presented no evidence that any such harm

 resulted.    The Court is also mindful of its duty to impose a fine that is not “grossly

 disproportionat[e] to the gravity of [the] defendant’s offense.” Bajakajian, 524 U.S. at 334

 (holding that a fine violates the Excessive Fines Clause of the Eighth Amendment “if it is grossly

 disproportional to the gravity of a defendant’s offense”).

          Balancing these factors, the Court finds that a penalty near the middle of the statutory range

 both reflects the seriousness of the offense, and is not so grossly disproportionate to the jury’s

 finding of actual damages that it would constitute excessive punishment or a breach of due process

 under the U.S. Constitution. (See Judgment Opp’n Br. 3–4, 28); Yates, 21 F.4th at 1314 (observing

 that “[penalties] falling below the maximum statutory fines for a given offense . . . receive a strong

 presumption of constitutionality”).

          The Court thus imposes a fine of $8,000 for each false claim under the FCA. Such a penalty

 would amount to over ten times the actual damages suffered by the Government, which the Court

 finds adequately serves Relators’ interests and reflects the seriousness of the offense without being

 unfair to Janssen. See United States v. Saavedra, Civ. No. 11-6425, 2015 WL 7621481, at *1–2

 (S.D.N.Y. June 16, 2015), aff’d, 661 F. App’x 37 (2d Cir. 2016) (awarding $11,000 per false

 statement which amounted to a civil penalty of eleven times the actual damages suffered by the




                                                   34
Case 3:12-cv-07758-ZNQ-JBD            Document 496      Filed 03/28/25      Page 35 of 35 PageID:
                                            31066



 Government where the defendant’s conduct was “deliberate” and the defendant refused to accept

 responsibility for his actions). The jury found 159,574 false claims. As such, the Court will award

 $1,276,592,000 in civil penalties.

 IV.    CONCLUSION

        For the reasons stated above, the Court will GRANT IN PART and DENY IN PART,

 Janssen’s Motion for Judgment as a Matter of Law. The Court will DENY Janssen’s Motion for

 a New Trial. The Court will GRANT IN PART and DENY IN PART Relators’ Motion for Entry

 of Judgment. An appropriate Order and Judgment consistent with this Opinion will follow.



 Date: March 28, 2025

                                                      s/ Zahid N. Quraishi
                                                      ZAHID N. QURAISHI
                                                      UNITED STATES DISTRICT JUDGE




                                                 35
